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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:


                                                                    2:91−cv−00589−CJC
 UNITED STATES OF AMERICA, et al.
                                                  Plaintiff(s),

          v.
 SHELL OIL CO, et al.
                                                Defendant(s).
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                                    ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         7/10/2020
 Document Number(s):                 674
 Title of Document(s):              Notice of Motion and Motion for Partial Summary Judgment
 ERROR(S) WITH DOCUMENT:

 Incorrect event selected. Correct event to be used is: Motion for partial summary judgment

 Hearing information is missing, incorrect, or not timely.

 Proposed Document was not submitted as separate attachment.




 Other:

 Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
 notice unless and until the Court directs you to do so.


                                                       Clerk, U.S. District Court

 Dated: July 13, 2020                                  By: /s/ Trina Debose 714−338−4568
                                                          Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.



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